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                          UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA

                                                            Case No. 23-cv-486 (JRT/LIB)
 James John Rud, and Brian Keith
 Hausfeld, on behalf of themselves and
 all others similarly situated,

                      Plaintiffs,                                   DECLARATION OF
                                                                    NANCY JOHNSTON
        vs.

 Nancy Johnston, Executive Director, Minnesota
 Sex Offender Program; and Jodi Harpstead,
 Department of Human Services Commissioner,
 in their official capacities,

                      Defendants.


      I, NANCY A. JOHNSTON, under penalty of perjury, declare as follows:

      1.       I am currently employed as the Executive Director of the Minnesota Sex

Offender Program (“MSOP”). I have personal knowledge of the facts in this declaration.

      2.       In my capacity as Executive Director of MSOP, I am responsible for the

oversight, operation, and programming of MSOP. I am familiar with all MSOP policies.

      3.       I have been employed by the Minnesota Department of Human Services

(“DHS”) since 2003. MSOP is a DHS program, and the Commissioner of DHS operates

and oversees MSOP. I have held several different clinical, operational, and administrative

positions at MSOP, including Social Services Director, Clinical Supervisor, Assistant

Clinical Director, Facility Director, and Executive Director. I have been Executive Director




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of MSOP since June of 2012, except for an approximate seven-month period in 2016 when

I was a Deputy Commissioner of DHS.

       4.       As of the date of this affidavit, CPS has expanded to include 145 total beds.

However, despite MSOP’s good faith efforts, CPS is not currently fully staffed. For example,

MSOP has funding to support 17 primary therapists on staff at CPS, and currently only 11

of these positions are filled. Additionally, MSOP has funding to support 70 security

positions at CPS, and currently only 64 of these positions are filled. So even though there

are 145 beds, CPS currently only has sufficient clinical and other staff to support and house

130 clients. The 15 currently unoccupied beds can and will be assigned as soon as the

necessary additional staff can be recruited, hired, and trained.

       5.       Clients on the CPS waitlist are transferred to CPS once a staffed bed becomes

available. It typically takes no more than two days to transfer a client from the secure

perimeter to CPS once a staffed CPS bed becomes available.

       6.       There is currently a list of clients with active transfer orders waiting to be

moved into CPS when a bed becomes available. As of today’s date, there are 16 clients with

active transfer orders on the CPS waitlist.

       7.       In the 2023 legislative session, DHS submitted a bonding request to the

legislature that was passed by both chambers and later approved by the Governor on June 1,

2023. This long-awaited bill provided funds to design, renovate, construct and furnish

construction at CPS. With the recent grant of $21 million, DHS expects CPS physical

capacity to increase to a total of 175 beds.




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